UNITED STATES DISTRICT COURT
for the

| WESTERN DISTRICT OF MICHIGAN,

UNITED STATES OF AMERICA

v. Case No. 1:12-cr-00132-JTN

MATTHEW PENALOZA
Case! 1:23-mj-231
Assigned To: Magistrate Judge G. Michael Harvey
ARREST WARRANT Assign. Date: 8/25/2024
Description: Rule 5 Arrest Warrant
TO: Any authorized law enforcement officer
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary
delay (name of person to be arrested) __ MATTHEW PENALOZA ___, who is accused of an offense
or violation based on the following document filed with the court:

[} Indictment {] Superseding Indictment — [] Information [] Superseding Information {] Complaint
[] Probation Violation Petition [X] Supervised Release Violation Petition [] Violation Notice — [] Order of the Court

This offense is briefly described as follows:

for having allegedly violated terms and/or conditions of supervised release in violation of Title 18 US Code § 3583

Date: August 23, 2023
City and state: Grand Rapids, Michigan Janet T, Neff, United States District Judge

Name and title of issuing officer

Return

This warrant was received on (date) B/: Js / a , and the person was arrested on

(date) 8/, a Sh. 3 al (city and state) (ely wake. hc
Date: § / as [ 2

( Arresting officer's signature

Room, Onend (ose

Printed name and title

